 Case 9:18-cv-80086-DMM Document 21-7 Entered on FLSD Docket 03/07/2018 Page 1 of 2


  UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA WEST PALM
                             BEACH DIVISION
CHARLES WILDES, INDIVIDUALLY, et al

               Plaintiff,                                               Case No.: 18-cv-80086-XXXX
vs.
                                                                VERIFIED RETURN OF NON-SERVICE
BITCONNECT INTERNATIONAL PLC, A
FOREIGN CORPORATION, et al

            Defendant.
______________________________________/

Pursuant to the request of DAVID SILVER, received this process on 02/08/2018 at 11:15 AM to be served upon:

CRAIG GRANT

State Of Florida
COUNTY OF MIAMI-DADE                ss.

I, Jose H. Mejia, depose and say that:
On 03/02/2018 at 10:00 AM, I non-served the within SUMMONS IN A CIVIL ACTION / AMENDED CLASS
ACTION COMPLAINT / EXHIBITS on CRAIG GRANT at 788 Brickell Plaza , MIAMI, FL33131 for the
reason(s) indicated below:

Comments/Prev. Attempts: SERVICE ATTEMPTED 2/15/2018 AT 12:00PM BY SERVER JOSE MEJIA- 788
BRICKELL AVE IS A VARIETY OF HIGH END RESIDENCES, RETAIL SHOPS AND HOTEL. THIS
PROCESS SERVER WAS UNABLE TO OBTAIN ANY INFORMATION FROM THE CONCIERGE OR
OFFICES. A UNIT NUMBER IS NEEDED.

I certify that I am over the age of 18, I am not a party to this action and have no interest in the process being served, and
I am a Certified Process Server or Special Process Server in good standing in the judicial circuit/county in which the
process was served or am otherwise duly authorized to have served process in the jurisdiction where process was served.

Under penalty of perjury I declare that I have read the foregoing Verified Return of Non-Service and that the facts stated
in it aree true.



      _________
              _____
                 _ __
                    ____
                      _ ____
X_______________________________________
        Mejia
        Me  a - Cert/
Jose H. Mejia       /Appt#: 351
                Cert/Appt#: 3
Notary Not
        ot R
        ot  e uired Pursuant To F.S. 92.525.
            eq
           Required
JOSE H. MEJIA
        ME
        M  EJIA PI, INC; 161 BENTLEY DRIVE; MIAMI, FL33166; 305-871-6477




                                             EXHIBIT "G"
Case 9:18-cv-80086-DMM Document 21-7 Entered on FLSD Docket 03/07/2018 Page 2 of 2
